    12-12020-mg           Doc 4557-3 Filed 08/07/13 Entered 08/07/13 18:28:43       Exhibit C
                                  Timekeeper Summary Pg 1 of 2



                                                  EXHIBIT C

     SUMMARY OF PROFESSIONAL SERVICES RENDERED BY PROFESSIONAL BY
     CARPENTER LIPPS & LELAND LLP ON BEHALF OF THE DEBTORS FOR THE
              PERIOD JANUARY 1, 2013 THROUGH APRIL 30, 2013

   Name of Professional          Department and Licensure        Hourly    Total       Total
       Individual                                                Billing   Hours    Compensation
                                                                  Rate     Billed
Partners
Jeffrey A. Lipps (1981)         Litigation-Ohio                  $400.00   649.40    $259,760.00

David A. Wallace (1985)         Litigation-Ohio, Maryland        $300.00   130.10     $39,030.00

Jennifer A.L. Battle (1999)     Litigation-Ohio, New York,       $300.00   452.30    $135,690.00
                                Pennsylvania
Angela M. Paul (1997)           Litigation-Ohio, Florida         $275.00   587.80    $161,645.00

Joel E. Sechler (2003)          Litigation-Ohio                  $220.00   377.60     $83,072.00

Associates and Of Counsel
Michael N. Beekhuizen           Litigation-Ohio                  $280.00   79.40      $22,232.00
(1995)
David A. Beck (2000)            Litigation-Ohio                  $280.00   741.70    $207,676.00

Heather L Buchanan (2000)       Litigation-Ohio, Pennsylvania    $240.00   325.50     $78,120.00

Segev Phillips (2008)           Litigation-Massachusetts, Ohio   $220.00   349.60     $76,912.00

A. Benjamin Winkler (2005)      Litigation-Ohio                  $220.00   91.80      $20,196.00

Steven C. Moeller (2006)        Litigation-Illinois, New York    $220.00   149.70     $33,682.50
                                (pending)
David J. Barthel (2005)         Litigation-Ohio                  $210.00   302.90     $63,609.00

Anthony J. Molnar (2006)        Litigation-Ohio                  $210.00   169.40     $35,574.00

Karen M. Cadieux (2005)         Litigation-Ohio                  $200.00   122.30     $24,460.00

Michael J. Boyle (2008)         Litigation-Ohio, California      $180.00   127.70     $22,986.00

Lynanne W. Sabatino (2011)      Litigation-Ohio                  $180.00   27.00      $4,860.00

Jeffrey R. Corcoran (2011)      Litigation-Ohio                  $180.00   491.50     $88,470.00

Gretchen N. Marty (2010)        Litigation-Ohio                  $175.00   646.30    $113,102.50

Mallory M. Mohler (2012)        Litigation-Ohio                  $160.00   368.10     $58,896.00

Jacob D. Rhode (2012)           Litigation-Ohio                  $160.00   304.30     $48,688.00
      12-12020-mg        Doc 4557-3 Filed 08/07/13 Entered 08/07/13 18:28:43                            Exhibit C
                                 Timekeeper Summary Pg 2 of 2



Amanda E. George (2012)           Litigation-Ohio                         $160.00          171.90          $27,504.00

Tyler K. Ibom (2010)              Litigation-Ohio                         $150.00           93.70          $14,055.00

Professionals Totals                                                      Blended
                                                                           Rate
                                                                          $239.68         6,760.00       $1,620,220.00

Paraprofessionals
Veronica L. Sholl                 Litigation                              $100.00          317.10          $31,710.00
Robert B. Samson                  Litigation                              $100.00           82.70           $8,270.00
Paraprofessionals Totals                                                  Blended
                                                                           Rate
                                                                          $100.00          399.80          $39,980.00

Less Unknown January Fee Reductions                                                                         -$394.00

Total Fees Incurred                                                       Blended
                                                                           Rate

                                                                          $231.82        7,159.801       $1,659,806.00




  1
    It is unknown which attorneys had their hours reduced as part of the $394 fee reduction in January. Therefore the
  total hours shown do not reflect a reduction of hours for any attorneys with regard to the January invoices.
